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12
                      UNITED STATES BANKRUPTCY COURT
13                    EASTERN DISTRICT OF WASHINGTON

14    In re                                            Chapter 11
      1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
15    LLC; and TWELFTH FLOOR, LLC,
                                                       (Jointly Administered)
                               Debtors.
16
                                                       Adv. Proc. No. 25-80007
17    LAN CAI, SHUJIE CHEN, TIANRAN
      CHEN, WEIJUN CHEN, JIE CHU,        PLAINTIFFS’ MOTION
18    ZHAOJUN CONG, HE CUI, JIANYING     FOR PROTECTIVE
      DING, JICHUN DU, QING DU, JIEYING  ORDER
      FENG, YUPENG GAO, YIRAN HAN,
19    JINYANG HU, NAIXIN HU, XIAO HUANG,
      JUNMEI JIN, XIN MENG, WEIHONG LU,
      YUANYUAN MA, MIN PAN, LEI PEI, HAO
20    QI, XIAO RONG, JUAN SHAO, HUI


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    WANG, JINGYI WANG, YUQUAN WANG,
      ZIDONG WANG, RONGRONG WU,
      ZHAOHUI XU, QI XU, JIE YAN, KE
 2    YANG, QIN YANG, HONGYUN YU,
      SHUXIAN ZENG, XIAOHONG ZHANG,
      YING ZHAO, MINBO ZHOU, NAN ZHOU,
 3    HUIQING ZHU, ZILING ZENG, LUYI
      ZHANG, JUNDI LIANG, TAO LI, YUN CAI,
 4    HONGLIANG TANG, JIE TANG,
      WENLUNG CHEN, SHI ZHANG, JUN CHE,
      DAHE ZHANG, SHAN WAN, XIAOHONG
 5    SUN, YAN LYU A/K/A YAN LU, WENYAN
      WANG, JIALIN TIAN, RUI TANG,
      XINHAN LIN, SIYU LIU, JIANYING
 6    MENG, PHUONG NGUYEN, YEQING PAN,
      XUERONG QI, QIANG WANG, JUNLI
 7    WEI, YUNFEI WU, HONGYING YU,
      DONGLI ZHANG,
 8    Plaintiffs,
      v.
 9
      HOTEL AT SOUTHPORT, LLC, TWELFTH
10    FLOOR, LLC, 1 MIN, LLC.
      Defendants,
11
      and
12    WF CREL 2020 GRANTOR TRUST,

13    Intervenor-Defendant.

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1          PLEASE TAKE NOTICE that Plaintiffs by and through their

 2    undersigned counsel, Arete Law Group PLLC and Reid & Wise, LLC, hereby

 3    file this Motion for Entry of Protective Order and respectfully move this Court

 4    pursuant to Federal Rule of Civil Procedure ("Fed. R. Civ. P.") 26(c), made

 5    applicable to this adversary proceeding by Federal Rule of Bankruptcy

 6    Procedure ("Fed. R. Bankr. P.") 7026, for entry of a protective order (1)

 7    providing that all depositions of Plaintiffs shall be conducted via remote video

 8    conference pursuant to Fed. R. Civ. P. 30(b)(4) and (2) limiting the total

 9    number of depositions of Plaintiffs in this case to ten (10). Movants seek

10    protection from the undue burden and expense associated with the potential

11    requirement that each Plaintiff, 44 of whom currently reside in China,

12    physically travel to the State of Washington to sit for a deposition. For the

13    reasons set forth herein, Plaintiffs respectfully request that the Court enter the

14    proposed Protective Order attached hereto as Exhibit 1.

15    BACKGROUND

16          Plaintiffs refer the Court to the Complaint [Adv. ECF No. 1] and the

17    Amended Joint Plan of Reorganization [Bankr. ECF No. 127] and Joint

18    Disclosure Statement [Bankr. ECF No. 8] for the general background of these

19    bankruptcy cases and this Adversary Proceeding.

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1          There are seventy (70) individual Plaintiffs in this Adversary

 2    Proceeding, forty-four (44) of whom currently reside in China. A summary of

 3    the current country of residence of each Plaintiff is included as Exhibit 3 to the

 4    Declaration of Matthew J. Livingston in Support of Plaintiffs’ Motion for

 5    Protective Order (the “Declaration”), filed in support of this Motion.

 6          Defendants have served notices of deposition for each of the 70

 7    Plaintiffs in this Adversary Proceeding, with each deposition noticed for the

 8    week of May 12th – May 16th, 2025. The Notices of Deposition each list the

 9    location of the deposition as “Seattle, Washington (exact location TBD)” and

10    Defendants have confirmed that they will not agree to any remote/video

11    depositions for any Plaintiff absent Court order, even for those Plaintiffs

12    currently located in China or any other country outside of the United States. A

13    copy of an example deposition notice of Plaintiff Dahe Zhang is attached as

14    Exhibit 1 to the Declaration. All deposition notices are substantively identical

15    to this deposition notice, other than the day of the deposition for each Plaintiff.

16    The different proposed deposition days are reflected in the summary table

17    attached as Exhibit 2 to the Declaration.

18           Defendants and Intervenors have confirmed to Plaintiffs that they

19    intend to move forward with 70 depositions over the course of five days, as

20    summarized in the summary table of all depositions included as Exhibit 2 to


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    the Declaration, with fourteen (14) depositions currently scheduled

 2    simultaneously for each day of the week of May 12th, 2025.

 3          Requiring Plaintiffs located in China to travel to the United States for

 4    in-person depositions imposes an enormous and unnecessary financial and

 5    logistical burden on each of the Plaintiffs, a burden which is unreasonable and

 6    wholly disproportionate to any supposed benefit of in-person depositions for

 7    Defendants and Intervenor. The viability of remote depositions in this matter

 8    is further underscored by the fact that the subject of each deposition of each

 9    Plaintiff is likely to be primarily focused on the Offering Documents issued to

10    each Plaintiff with respect to the Project, documents which can easily be

11    digitally shared during a remote deposition and which are all substantively

12    identical between Plaintiffs, other than the individual Plaintiff’s signature.

13          Plaintiffs’ counsel conferred with counsel for Defendants and Intervenor

14    on two separate occasions regarding these discovery issues in an attempt to

15    reach a resolution, as required by Fed. R. Civ. P. 26(c)(1). Unfortunately, the

16    parties were unable to agree on a procedure for remote depositions for the

17    China-based Plaintiffs or on a reasonable limitation on the total number of

18    Plaintiff depositions. Plaintiffs understand that Defendants and Intervenors

19    believe in-person depositions are required, notwithstanding the enormous

20    financial and logistical burden this imposes on Plaintiffs. As such, Plaintiffs


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    file this Motion seeking a protective order to (i) permit depositions of

 2    Plaintiffs to be conducted remotely via video technology and (ii) limit the total

 3    number of depositions of Plaintiffs to 10.

 4    ARGUMENT

 5          I. Standard for Protective Order under Rule 26(c)

 6          Federal Rule of Civil Procedure 26(c)(1), applicable via Fed. R. Bankr.

 7    P. 7026, permits a court, "for good cause," to issue an order "to protect a party

 8    or person from annoyance, embarrassment, oppression, or undue burden or

 9    expense." The rule provides a non-exhaustive list of potential protective

10    measures, including "specifying terms, including time and place or the

11    allocation of expenses, for the disclosure or discovery," Fed. R. Civ. P.

12    26(c)(1)(B), and "limiting the scope of disclosure or discovery to certain

13    matters," Fed. R. Civ. P. 26(c)(1)(D), or "limiting...the number...[of

14    depositions]" under the proportionality principles of Rule 26(b)(2)(C).

15          The party seeking the protective order bears the burden of showing

16    "good cause" by making "a particular and specific demonstration of fact, as

17    distinguished from stereotyped and conclusory statements." See, e.g., Foltz v.

18    State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003) (internal

19    quotation marks omitted).

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1          “Leave to permit remote depositions should generally be granted

 2    liberally.” Brower v. McDonald's Corp., No. 2:19-cv-02099-GMN-BNW,

 3    2021 WL 3573633, at *2 (D. Nev. May 28, 2021). The Court's analysis

 4    proceeds in two steps: “(1) the proponent must advance a legitimate reason for

 5    seeking a remote deposition; and (2) if the movant articulates a legitimate

 6    reason, then the burden shifts to the opposing party to make a particularized

 7    showing that conducting the deposition by remote means would be

 8    prejudicial.”

 9          II. Good Cause Exists to Permit Remote Depositions of Plaintiffs in
            China
10
            A. Undue Burden and Expense of In-Person Depositions
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            As with deciding whether good cause exists to support a protective
12
      order, courts have broad discretion in determining the time and place of
13
      depositions. See Hyde & Drath v. Baker, 24 F.3d 1162, 1165 (9th Cir. 1994).
14
      Courts within the Ninth Circuit have observed that leave to take depositions
15
      remotely should be granted liberally. See Pruco Life Ins. Co. v. Cal. Energy
16
      Dev. Inc., 2021 WL 5043289, at *14 (S.D. Cal. 2021); Lopez v. CIT Bank,
17
      N.A., 2015 WL 10374104, at *2 (N.D. Cal. 2015).“[I]n the absence of
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      exceptional or unusual circumstances, when a deponent resides at a substantial
19
      distance from the deposing party's residence, the deposing party should be
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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    required to take the deposition at a location in the vicinity in which the

 2    deponent resides, even if the deponent is a party.” Metrex Research Corp. v.

 3    United States, 151 F.R.D. 122 (D. Colo. 1993).

 4          Requiring Plaintiffs residing in China to travel internationally for

 5    depositions presents extraordinary logistical challenges and prohibitive costs.

 6    These include significant international airfare costs, potential visa

 7    requirements, accommodation, and significant time commitments far

 8    exceeding those for domestic depositions. This constitutes a classic example of

 9    undue burden and expense justifying protection under Rule 26(c). Moreover,

10    given recent tensions between China and the United States, various Plaintiffs

11    are understandably extremely uneasy with the idea that they would have to

12    travel to the United States and be subject to United States customs and

13    immigrations issues, solely to sit for a deposition to discuss investment

14    documents that could easily be shared remotely via video technology.

15          Here, requiring at least 44 Plaintiffs to fly from China to the United

16    States and sit for a deposition in person, when a remote deposition would

17    accomplish exactly the same thing, is plainly unduly burdensome. There is no

18    substantive difference in a translated remote deposition and a translated in-

19    person deposition, other than the significant time, money and disruption for

20    each Plaintiff if required to travel to the United States on short notice.


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    Defendants’ request to require 70 in-person depositions is a plain attempt to

 2    get certain Plaintiffs’ to potentially withdraw their claims or otherwise

 3    prejudice the strength of their claims because they are unable to incur this

 4    additional expense and life-disruption, after already losing more than $550,000

 5    investing in this Project.

 6          B. Remote Depositions Are Explicitly Authorized and Feasible And
            Particularly Appropriate In This Case
 7
            Fed. R. Civ. P. 30(b)(4) expressly provides that "[t]he parties may
 8
      stipulate—or the court may on motion order—that a deposition be taken by
 9
      telephone or other remote means." Modern video conferencing technology
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      allows for effective remote depositions where counsel can assess witness
11
      demeanor, share exhibits electronically, and have objections placed on the
12
      record in real-time. Courts routinely authorize remote depositions and remote
13
      depositions have been commonplace since the COVID-19 pandemic. Swenson
14
      v. GEICO Casualty Co., 336 F.R.D. 206, 209 (D. Nev. 2020); Vargas v.
15
      Evergreen Prof'l Recoveries Inc., No. 2:21-cv-00926-RSL-JRC, 2022 WL
16
      856991 (W.D. Wash. Mar. 23, 2022).
17
            C. Lack of Undue Prejudice
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            Allowing remote depositions will not unduly prejudice Defendants here.
19
      They will still have the opportunity to question the witnesses under oath,
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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    observe their demeanor via video, and create a complete record. Protocols can

 2    be established to ensure the integrity of the process (e.g., witness

 3    identification, agreements on exhibit handling, stipulations regarding the oath

 4    administration).

 5          In addition, the primary evidence at issue for each deposition will be the

 6    Offering Documents relied upon by Plaintiffs in making each Plaintiff’s

 7    decision to invest in the Project. These documents are not in dispute and can

 8    be easily verified and shared via remote means. Moreover, counsel to

 9    Defendants will need to conduct depositions of Plaintiffs in a foreign language

10    and therefore any idea that counsel defendants will be able to assess credibility

11    significantly (or at all) better in person than via remote deposition is highly

12    speculative, given the fact that counsel and each deponent will not be speaking

13    the same language and will be communicating through a translator.

14    III. Good Cause Exists to Limit the Total Number of Plaintiff Depositions
      to Ten (10)
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            A. Federal Rule of Civil Procedure 30(a)(2)(A)(i), Made Applicable
16             By Federal Rule of Bankruptcy Procedure 7030, Presumptively
               Limits Total Depositions Per Side to 10
17
                Federal Rule of Civil Procedure 30(a)(2)(A)(i), made applicable to
18
      this Adversary Proceeding by Federal Rule of Bankruptcy Procedure Rule
19
      7030, provides a presumptive limit of ten (10) depositions per side, absent
20


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    stipulation between the parties or leave of court. Fed. R. Civ. P. 30(a)(2)(A)(i);

 2    Fed. R. Bankr. P. 7030. In considering whether to extend the limit under Rule

 3    26(b)(2), “the Court will consider whether: (i) the discovery sought is

 4    unreasonably cumulative or duplicative, or is obtainable from some other

 5    source that is more convenient, less burdensome, or less expensive; (ii) the

 6    party seeking discovery has had ample opportunity by discovery in the action

 7    to obtain the information sought; or (iii) the burden or expense of the proposed

 8    discovery outweighs its likely benefit, taking into account the needs of the

 9    case, the amount in controversy, the parties' resources, the importance of the

10    issues at stake in the litigation, and the importance of the proposed discovery

11    in resolving the issues.” Smith v. Ardew Wood Products, Ltd., 2008 WL

12    4837216 (W.D.Wash.2008). A party seeking to exceed the presumptive limit

13    bears the burden of making a “particularized showing” of the need for

14    additional depositions. Id.

15          Here, Plaintiffs submit that 70 depositions is plainly excessive and

16    vastly exceeds the presumptive limit of 10 depositions. While there are 70

17    plaintiffs, each plaintiff has substantively similar legal and factual issues and

18    there has been no showing by Defendants or Intervenors that 70 in-person

19    depositions are necessary in this case.

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1          B. Undue Burden, Expense, and Proportionality

 2           Noticing or taking depositions of seventy (70) individual Plaintiffs

 3    would constitute undue burden and expense and is grossly disproportionate to

 4    the needs of this case under the factors outlined in Fed. R. Civ. P. 26(b)(1) and

 5    26(b)(2)(C). These factors include the importance of the issues at stake, the

 6    amount in controversy, the parties' relative access to information, the parties'

 7    resources, and the importance of the discovery in resolving the issues.

 8          Ten (10) remote depositions will be more than sufficient to permit

 9    Defendants to probe the legal and factual issues at play in this Adversary

10    Proceeding. Each deposition will be largely duplicative in primarily

11    investigating the Offering Documents and Project investment decision. There

12    is simply no need for 70 separate in-person depositions when a smaller

13    number of remote depositions will adequately uncover any purported legal or

14    factual issues with Plaintiffs’ claims. Moreover, Plaintiffs can and will each

15    submit sworn affidavits regarding each Plaintiff’s investment decision in the

16    Project.

17          C. Cumulative and Duplicative Discovery

18          It is highly likely that the testimony of 70 Plaintiffs regarding the

19    Offering Documents would be largely cumulative and duplicative. See Fed. R.

20    Civ. P. 26(b)(2)(C)(i). Defendants can obtain the information necessary to


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1    dispute Plaintiffs’ claims through a reasonably limited number of depositions

 2    targeting representative Plaintiffs or those with unique knowledge. Moreover,

 3    Plaintiffs are each willing to submit written affidavits and/or declarations

 4    regarding each Plaintiffs’ decision to invest in the Project and, if necessary,

 5    testify or submit affidavits at the trial currently scheduled in June.

 6          D. The Proposed Limit is Reasonable

 7          Limiting the total number of Plaintiff depositions to ten (10) strikes a

 8    fair balance. It allows Defendants ample opportunity to explore the key facts

 9    and variations among Plaintiff claims while protecting Plaintiffs from the

10    staggering and unnecessary burden and expense associated with 70

11    depositions, including 14 simultaneous depositions each day of a single week.

12    The court must limit discovery where it is "unreasonably cumulative or

13    duplicative" or where "the burden or expense of the proposed discovery

14    outweighs its likely benefit." Fed. R. Civ. P. 26(b)(2)(C). Both conditions are

15    met here.

16    CONCLUSION

17          For the foregoing reasons, Plaintiffs respectfully request that this Court

18    find good cause exists and enter a Protective Order substantially in the form

19    attached hereto as Exhibit 1 pursuant to Fed. R. Civ. P. 26(c) and Fed. R.

20    Bankr. P. 7026:


      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1       1. Directing that the depositions of any Plaintiff be conducted via remote,

 2          simultaneous audiovisual means;

 3       2. Limiting the total number of depositions of individual Plaintiffs in this

 4          adversary proceeding to no more than ten (10); and

 5       3. Granting such other and further relief as the Court deems just and

 6          proper.

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1     DATED: April 22, 2025.

 2
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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1                            CERTIFICATE OF SERVICE

 2          I hereby certify that on this 22nd Day of April, 2025, I electronically

 3    filed the foregoing MOTION FOR PROTECTIVE ORDER with the Clerk of

 4    the Court using the CM/ECF system, which will send notification of such

 5    filing to all counsel of record registered for electronic service.

 6

 7    /s/ Matthew J. Livingston

 8    Matthew J. Livingston

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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 1                                      Exhibit 1

 2                                  Proposed Order

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      PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

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